                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA            :

        v.                          :        3:23-CR-149

NICHOLAS DOMBEK                     :     (JUDGE MANNION)
DAMIEN BOLAND
ALFRED ATSUS                        :
JOSEPH ATSUS
                       Defendants   :

TYPE OF CASE: CRIMINAL

                           NOTICE OF HEARING

       TAKE NOTICE that a proceeding in this case has been SCHEDULED for
the time and place listed below:

PLACE: UNITED STATES DISTRICT COURT    COURTROOM: 3
       WILLIAM J. NEALON FEDERAL BLDG. &
       UNITED STATES COURTHOUSE
       235 N. WASHINGTON AVE.
       SCRANTON, PA 18501              DATE AND TIME:
                                       Thursday, March 14, 2024
                                       at 9:30 a.m.

TYPE OF PROCEEDING: STATUS CONFERENCE (Attorneys Only)

DATE: March 11, 2024
                                             PETER J. WELSH, CLERK

                                             s/ G. Gebhardt
                                             Gina Gebhardt

TO:   HON. MALACHY E. MANNION, US DISTRICT JUDGE
      JAMES BUCHANAN, ESQUIRE, AUSA
      ERNEST D. PREATE, ESQUIRE
      MATTHEW L. CLEMENTE, ESQUIRE
      JASON J. MATTIOLI, ESQUIRE
      PATRICK A. CASEY, ESQUIRE
      U.S. PROBATION
      U.S. MARSHAL
      CT. REPORTER
